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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)
                                                              Hearing Date: October 22, 2024 at 1:00 p.m. (ET)
                                                              Objection Deadline: September 20, 2024 at 4:00 p.m. (ET)



                                            NOTICE OF MOTION

TO:      (a) the U.S. Trustee; (b) counsel to the Committee; (c) the Securities and Exchange
         Commission; (d) Emergent; (e) the Joint Liquidators; (f) Fulcrum; (g) the United States
         Department of Justice; (h) the United States Attorney for the District of Delaware; and (i)
         to the extent not listed herein, those parties requesting notice pursuant to Bankruptcy
         Rule 2002.

        On September 6, 2024, FTX Trading Ltd. and its affiliated debtors and debtors-in-
possession (collectively, the “FTX Debtors”) filed the Motion of the FTX Debtors and Emergent
Fidelity Technologies Ltd for Entry of an Order (A) Authorizing the Entry into, and Performance
Under, the Global Settlement Agreement Among the FTX Debtors, Emergent Fidelity
Technologies Ltd, the Joint Liquidators, and Fulcrum Distressed Partners Limited;
(B) Approving the Global Settlement Agreement; and (C) Granting Related Relief (the
“Motion”).

       Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before September 20, 2024 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on September 20, 2024.

      A HEARING ON THE MOTION WILL BE HELD ON OCTOBER 22, 2024 AT 1:00
P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, CHIEF UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5th FLOOR,
COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
{1368.002-W0077241.}
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     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: September 6, 2024              LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                      /s/ Kimberly A. Brown
                                      Adam G. Landis (No. 3407)
                                      Kimberly A. Brown (No. 5138)
                                      Matthew R. Pierce (No. 5946)
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                                      Wilmington, Delaware 19801
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                                      -and-

                                      SULLIVAN & CROMWELL LLP
                                      Andrew G. Dietderich (admitted pro hac vice)
                                      James L. Bromley (admitted pro hac vice)
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                                      Counsel for the FTX Debtors and Debtors-in-Possession




{1368.002-W0077241.}
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